Case 3:18-cv-00162-GMG Document 39 Filed 04/12/19 Page 1 of 1 PageID #: 261



                           IN THE UNITED STATES DISTRICT COURT

                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA



S.L., a minor, by and through her parent and
Legal guardian D.L.,                                              Case No. 3:18-cv-00162

Plaintiff,

-v-

CITY HOSPITAL, INC., d/b/a,
BERKELEY MEDICAL CENTER,
A subsidiary of WEST VIRGINIA UNIVERSITY
HOSPITALS-EAST, INC., d/b/a
WV UNIVERSITY HEALTHCARE

                                    CERTIFICATE OF SERVICE

I hereby certify that on April 12, 2019 I electronically filed the foregoing Second Amended Complaint
with the United States Court District Court for the Northern District of West Virginia by using the
CM/ECF system. I certify that the following parties or their counsel of record are registered as ECF Filers
and that they will be served by the CM/ECF system:

City Hospital, Inc., d/b/a Berkeley Medical Center
 a subsidiary of West Virginia University Hospitals-East, Inc.,
d/b/a WV University Healthcare.

Via delivery to:

Joshua K. Boggs
West Virginia United Health System, Inc.
West Virginia University Hospitals, Inc.
1238 Suncrest Towne Centre Drive
Morgantown, WV 26505

                                                         /s/ Shawna White__________
                                                         Shawna White Bar No. 10893
                                                         Disability Rights of WV
                                                         1207 Quarrier Street
                                                         Litton Building, Suite 400
                                                         Charleston, WV 25301
                                                         (304) 346-0847
